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Civil Form 4, Nongovernmental Corporate Disclosure Statement


                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE

Coalition for Open Democracy et al.
v.
                                                                    Civil No. Case #/Judge Initials
Secretary of State et al.
                            COALITION FOR OPEN DEMOCRACY
                                DISCLOSURE STATEMENT
                                   LOCAL RULE 7.1.1

        [This form is to be completed and filed only by parties and intervenors that are
        nongovernmental corporations, partnerships, or limited liability companies. Check the
        appropriate box(es).]

        ❒      The filing party, a nongovernmental corporation, identifies the following parent
        corporation and any publicly held corporation that owns 10% or more of its stock:

                                              -OR-

        ❒      The filing party, a partnership, identifies the following parent corporation and any
        publicly held corporation that owns 10% or more of the corporate partner’s stock:

                                              -OR-

        ❒       The filing party, a limited liability company (LLC), identifies the following parent
        corporation and any publicly held corporation that owns a 10% or more membership or
        stock interest in the LLC:

                                           - AND/O R -

        ❒      The filing party identifies the following publicly held corporations with which a
        merger agreement exists:

                                              -OR-

        X
        ❒       The filing party has none of the above.


(Added 1/1/01; amended 1/1/03, 12/1/09, 12/1/13, 12/1/22)
